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                            UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF OKLAHOMA

SAMUEL D. EDWARDS, etal,                         )
                    Plaintiffs,                  )
                                                 )
                       v.                        )   Case No.        CIV 04-96-KEW
                                                 )
PEPSICO, INC., etal,                             )   Date            9/24/13
                             Defendants.         )   Time:           10:10 a.m. - 10:13 a.m.


                                      MINUTE SHEET
                                 EVIDENTIARY HEARING
                       (Re: Motion for Attorney Fees by Holden & Carr)

 Kimberly E. West, Judge           N. Horn, Deputy Clerk        K. McWhorter, Court Reporter
                                                                Courtroom 3



Counsel for Petitioner Holden & Carr: Michael L. Carr and Steven Holden

Counsel for Respondent Capron & Edwards, P.C.: Stephen J. Capron and Michael J. Edwards



MINUTES:

        Respondent advised the Court that the parties have reached a resolution in this matter and
reduced it to writing. Additionally, the parties are in complete agreement and feel there is no need
to put on further evidence as to the Motion for Attorney Fees.
        ENTERING ORDER: Striking said cause. Written order to follow. (KEW)




                                                                                                 CR-01c (2/06)
